     Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 1 of 18


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10
                                 IN THE UNITED STATES DISTRICT COURT
11
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                            SACRAMENTO DIVISION
13

14

15   RALPH COLEMAN, et al.,                                  Case No. 2:90-cv-00520 KJM-DB (PC)

16                                             Plaintiffs,     DEFENDANTS’ CENSUS, WAITLISTS,
                                                               AND TRANSFER TIMELINES
17                    v.                                       COMPLIANCE REPORTS FOR
                                                               INPATIENT MENTAL HEALTH CARE
18
     GAVIN NEWSOM, et al.,
19
                                             Defendants.
20

21

22          Defendants California Department of Corrections and Rehabilitation (CDCR) and

23   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

24   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

25   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached is a letter from

26   CDCR and DSH enclosing the following census and inpatient reports, as modified by the Court’s

27   April 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

28   (Exhibit A); (2) CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and
     [3419376.1]                                    1
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 2 of 18


 1   Waitlist Report as of December 30, 2019; (3) CDCR Mental Health Crisis Bed Coleman Patient

 2   Census and Waitlist Report as of December 30, 2019 (Exhibit C); (4) Psychiatric Inpatient

 3   Programs Census Report as of 12/30/2019 (Exhibit D); (5) CDCR Inpatient Program Referrals:

 4   Compliance with Program Guide Timeframes for Acute and Intermediate Referrals Admitted or

 5   Closed in December 2019 (Exhibit E); and (6) DSH Psychiatric Inpatient Timelines Compliance

 6   Report, Patients Admitted December 1 through December 31, 2019 Who Waited Beyond

 7   Program Guide Timelines (Exhibit F).

 8             The current compliance reports at Exhibits E and F show that all patients admitted to

 9   inpatient programs in December 2019 were transferred within Program Guide timelines.

10     Dated: January 15, 2020                                    XAVIER BECERRA
                                                                  Attorney General of California
11                                                                ADRIANO HRVATIN
                                                                  Supervising Deputy Attorney General
12

13                                                                /S/ ELISE OWENS THORN
                                                                  Elise Owens Thorn
14                                                                Deputy Attorney General
                                                                  Attorneys for Defendants
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28
     [3419376.1]                                           2
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
              Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20
STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                       Page 3 of 18
                                                                EDMUND G. BROWN JR., GOVERNOR

DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM
P.O. Box 588500
Elk Grove, CA 95758




        January 15, 2020

        Adriano Hrvatin, Esq.
        Elise Owens Thorn, Esq.
        California Department of Justice
        455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-5500

        RE:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
                 COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

        Dear Mr. Hrvatin and Ms. Thorn:
                The California Department of Corrections and Rehabilitation (CDCR) and the California
        Department of State Hospitals (DSH) submit their monthly information on patient census,
        referrals, waitlists, and transfer timeline compliance for inpatient mental health care.

               The DSH CDCR Patient Census and Waitlist Report, attached as Exhibit A, and the DSH
        Psychiatric Inpatient Timelines Compliance Report, Patients Admitted December 1 through
        December 31, 2019 Who Waited Beyond Program Guide Timelines, attached as Exhibit F, are
        based on data from the DSH Bed Utilization Management Report.

               The CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist
        Report as of December 30, 2019 (Exhibit B), the CDCR Mental Health Crisis Bed Coleman Patient
        Census and Waitlist Report as of December 30, 2019 (Exhibit C), the Psychiatric Inpatient
        Programs Census Report as of 12/30/2019 (Exhibit D), and the CDCR Inpatient Program
        Referrals: Compliance with Program Guide Timeframes for Acute and Intermediate Referrals
        Admitted or Closed in December 2019 (Exhibit E), are generated using data from CDCR’s tracking
        software, the Referrals to Inpatient Programs Application.

                The reports attached as Exhibits A through D reflect data collected at a single point in
        time and, as a result, should not be used for purposes outside of those reports. The reports
        attached as Exhibits E and F are compliance reports from CDCR and DSH, both of which
        include requested compliance data for all referrals admitted to inpatient care in December 2019,
        for any inmate-patient who waited beyond the timelines specified in the Mental Health Services
        Delivery System Program Guide (2009 Revision) at 12-1-16. All patients admitted to an
        inpatient program in December 2019 transferred within Program Guide timelines.

        Sincerely,

        /s/ Eureka Daye                                              /s/ Stephanie Clendenin
        EUREKA DAYE                                                  STEPHANIE CLENDENIN
        Deputy Director (A)                                          Director
        Statewide Mental Health Program                              Department of State Hospitals
Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 4 of 18




                     Exhibit A
 State of California                                                                                                                                                                                                                              GAVIN NEWSOM, Governor

 DIVISION OF HOSPITAL STRATEGIC PLANNING AND
                                         CaseIMPLEMENTATION
                                                 2:90-cv-00520-KJM-DB                                                    Document 6446 Filed 01/15/20 Page 5 of 18
 Patient Management Unit
 1600 Ninth Street, Room 420
 Sacramento, CA 95814



                                                                                                           DSH CDCR Patient Census and Waitlist Report
                                                                                                                           Data as of: 12/30/19
 Acute Care Patients
                                                                                                               Beds         Medical Isolation
      DSH Facility - Acute - Female       Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                  -                      0                     0                   0                  0                      0
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    0
                        Total                   -                      0                     0                   0                  0                      0                     0                      0                        0     (Includes 0 Waiting >10 Days)


 Intermediate Care Low Custody - Unlocked Dorms
                                                                                                               Beds         Medical Isolation
     DSH Facility - Unlocked Dorms        Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                   Atascadero                  256                   255                     0                   0                  0                      1            Referrals Pending                   Accepted Referrals
                       Coalinga                50                     49                     0                   0                  0                      1                 Review              CDCR Prison4              CDCR PIP5                0

                        Total                  306                   304                     0                   0                  0                      2                     0                      0                        0     (Includes 0 Waiting >30 Days)



 Intermediate Care Low Custody - Unlocked Dorms - Female

  DSH Facility - Unlocked Dorms -                                                                              Beds         Medical Isolation
                                          Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
              Female                                                                                         Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                 30                     16                     0                   0                  0                      14
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    0
                        Total                  30                     16                     0                   0                  0                      14                    0                      0                        0     (Includes 0 Waiting >30 Days)

 1
 Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH. When allocated Coleman beds are at maximum capacity within the facility, beds with patients pending discharge may be placed on hold for accepted patients to
 maximize bed utilization. This may result in negative totals for available beds, but does not necessarily imply exceeding capacity.
 2
   Redlined beds are temporarily unavailable due to repairs.
 3
   Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
 4
   Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
 5
     Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
 6
     Beds at DSH-P are for female patients only.




Source: BUMMs                                                                                                                       1 of 1
Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 6 of 18




                     Exhibit B
                                                                                               CDCR Psychiatric Inpatient Programs (PIP)
                                                                                           Coleman Patient Census and Waitlist Report as of
                                                                   Case      2:90-cv-00520-KJM-DB DecemberDocument  30, 2019
                                                                                                                            6446 Filed                                    01/15/20 Page 7 of 18
                                                                                                                            Medical
                                                                                          Beds             Beds                            Available
MALE ACUTE PIPs                                        Bed Capacity        Census                                          Isolation
                                                                                        Reserved1        Redlined2                           Beds
                                                                                                                                                              Pending             Accepted                              Total Acute Referrals
                                                                                                                            Rooms3                                                                   Total Waitlist
California Health Care Facility (CHCF)                      234              222             4               5                 8               -5            Referrals4           Referrals5                             Waiting > 10 Days
California Medical Facility (CMF)                           218              200             5               0                 0               13
San Quentin (SQ)*                                           10                6              0               0                 0               4
Total                                                       462              428             9               5                 8               12                 15                   4                   19                      0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
MALE INTERMEDIATE LOCKED DORM PIP                      Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted
                                                                                         Reserved                                            Beds        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                            Rooms                                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF                                                          84              82              2               0                 0                0
Total                                                        84              82              2               0                 0                0                 13                   0                   13                                                 0

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE INTERMEDIATE HIGH CUSTODY PIPs                    Bed Capacity        Census                     Beds Redlined        Isolation
                                                                                         Reserved                                            Beds
                                                                                                                            Rooms
                                                                                                                                                                                                                                                    Total Intermediate
CHCF Single Cell                                            300              297             0               3                10               -10                                 Accepted
                                                                                                                                                         Pending Referrals                           Total Waitlist                                  Referrals Waiting
CMF Multi Cell                                              70               58              6               0                 0                6                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF Single Cell                                             94               94              0               0                 0                0
Salinas Valley State Prison (SVSP) Multi Cell               44               42              4               0                 0                -2
SVSP Single Cell                                            202              198             4               0                 0                0
Total                                                       710              689             14              3                10                -6                94                   0                   94                                                 0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
MALE CONDEMNED PIP                                     Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted                             Total Acute Referrals
                                                                                         Reserved                                            Beds        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                            Rooms                                                  Referrals                             Waiting > 10 Days
                                                                                                                                                                                                                                                        > 30 Days
California State Prison, San Quentin                         30              29              0               0                 0                1
Total                                                        30              29              0               0                 0                1                 0                    0                    0                      0                          0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
FEMALE HIGH CUSTODY PIP                                Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted                             Total Acute Referrals
                                                                                         Reserved                                            Beds        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                            Rooms                                                  Referrals                             Waiting > 10 Days
                                                                                                                                                                                                                                                        > 30 Days
California Institution for Women                             45              33              2               0                 0               10
Total                                                        45              33              2               0                 0               10                 1                    1                    2                      0                          0

                                                                                                                            Medical                                                                                                                 Total Intermediate
                                                                                           Beds                                            Available                               Accepted                             Total Acute Referrals
                                                       Bed Capacity        Census                     Beds Redlined        Isolation                     Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                         Reserved                                            Beds                                  Referrals                             Waiting > 10 Days
                                                                                                                            Rooms                                                                                                                       > 30 Days
GRAND TOTALS - ALL PIPs                                     1331            1261             27              8                18               17                123                   5                  128                       0                        0
                                                                                                                                                                                                        6 DSH
1
  Beds Reserved - Beds held or endorsed to by the Health Care Placement Oversight Program (HCPOP) for a specific patient. The referral is either pending clinical acceptance by the PIP or the patient is pending transfer to the PIP.
2
  Beds Redlined - Beds are temporarily unavailable fpr patient placement due to repairs or single cell status (if a two-man cell).
3
  Medical Isolation Rooms - Rooms are required for licensing and physically differ from the other housing cells in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Pending Referrals - Includes all referrals received by the Mental Health Inpatient Referrals Unit (new inpatient referral, level of care transfers, least restrictive housing transfers) that are pending a clinical referral review, least restrictive housing
determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
5
  Accepted Referrals - Includes all referrals that have been endorsed to a bed, have been accepted by the inpatient program, and are awaiting transfer.

*Acute SQ PIP program for non-condemned has 2 MHCB placements , therefore has 2 available beds instead of 4.




Data Source: RIPA                                                                                                                                                                                                        CCHCS, Health Care Placement Oversight Program
Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 8 of 18




                     Exhibit C
                               Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 9 of 18

                                               CDCR Mental Health Crisis Bed
                                       Coleman Patient Census and Waitlist Report as of
                                                    December 30, 2019


                                                                                                                   Total Pending
CDCR MHCB                                                 Beds     Available   Total Pending
                     Bed Capacity         Census                                               Beds Assigned         Referrals
Programs                                                Redlined     Beds        Referrals
                                                                                                                    > 24 hours
Male Programs            407               261            29         117            5                 5                  0
Female Programs          41                 31             1          9             1                 1                  0
            Totals       448               292            30         126            6                 6                  0




Data Source: HEART                                                                        CCHCS, Health Care Placement Oversight Program
Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 10 of 18




                     Exhibit D
                                                                                                                                                        Monday, 12/30/2019
                    Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 11 of 18
                                                                                                                                                               Time: 04:30 PM



                                          PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 12/30/2019
                     Facility                                      Bed Capacity                                    Beds Occupied
                                                                    Male Acute Care Programs
                                            PIP-Vacaville              218               No Score:                                                        2
                                                                                         Level I:                                                        13
                                                                                         Level II:                                                       59
                                                                                         Level III:                                                      28
                                                                                         Level IV                                                        98
                                                                                         Total Census:                                                   200
                                            PIP-Stockton               234               No Score:                                                        6
                                                                                         Level I:                                                        12
                                                                                         Level II:                                                       58
                                                                                         Level III:                                                      31
                                                                                         Level IV                                                        115
                                                                                         Total Census:                                                   222
                                         DSH-Atascadero                 0                No Score:                                                        0
                                                                                         Level I:                                                         0
                                                                                         Level II:                                                        0
                                                                                         Level III:                                                       0
                                                                                         Level IV                                                         0
                                                                                         Total Census:                                                    0
                                             San Quentin                10               No Score:                                                        0
                                                                                         Level I:                                                         0
                                                                                         Level II:                                                        2
                                                                                         Level III:                                                       0
                                                                                         Level IV                                                         4
                                                                                         Total Census:                                                    6
              Totals for Male Acute                                   452                                                                                428
                                                      Male Intermediate Care Facility (High Custody) Programs
                                            PIP-Stockton               300               No Score:                                                         4
                                                                                         Level I:                                                         15
                                                                                         Level II:                                                        45
                                                                                         Level III:                                                       25
                                                                                         Level IV                                                        208
                                                                                         Total Census:                                                   297
                                                                                         Total out of LRH:                                               186
                                            PIP-Vacaville               94               No Score:                                                         3
                                                                                         Level I:                                                          0
                                                                                         Level II:                                                        23
                                                                                         Level III:                                                       20
                                                                                         Level IV                                                         48
                                                                                         Total Census:                                                    94
                                                                                         Total out of LRH:                                               65
                                      PIP-Vacaville Multi-              70               No Score:                                                         1
                                             person Cells
                                                                                         Level I:                                                          0
                                                                                         Level II:                                                         8
                                                                                         Level III:                                                        9
                                                                                         Level IV                                                         40
                                                                                         Total Census:                                                    58
                                                                                         Total out of LRH:                                                16




                                                                                                                CCHCS, Health Care Placement Oversight Program
Page 1 of 3                                                                                                     Referrals to Inpatient Programs Application (RIPA)
                                                                                                                                                  Monday, 12/30/2019
                Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 12 of 18
                                                                                                                                                        Time: 04:30 PM



                                       PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 12/30/2019
                 Facility                                    Bed Capacity                                    Beds Occupied
                                   PIP-Salinas Valley            202               No Score:                                                        1
                                                                                   Level I:                                                         4
                                                                                   Level II:                                                       31
                                                                                   Level III:                                                      28
                                                                                   Level IV                                                        109
                                                                                   PC 1370:                                                        23
                                                                                   WIC 7301:                                                        2
                                                                                   Total Census:                                                   198
                                                                                   Total out of LRH:                                               83
                PIP-Salinas Valley Multi-person Cells             44               No Score:                                                        0

                                                                                   Level I:                                                         1
                                                                                   Level II:                                                        6
                                                                                   Level III:                                                       5
                                                                                   Level IV                                                        30
                                                                                   PC 1370:                                                         0
                                                                                   WIC 7301:                                                        0
                                                                                   Total Census:                                                   42
                                                                                   Total out of LRH:                                               20
     Totals for Male ICF High Custody                            710                                                                               689
                                                 Male Intermediate Care Facility (Low Custody) Programs
                                PIP-Vacaville Dorms               84               No Score:                                                        1
                                                                                   Level I:                                                         7
                                                                                   Level II:                                                       21
                                                                                   Level III:                                                      16
                                                                                   Level IV                                                        37
                                                                                   Total Census:                                                   82
                                                                                   Total out of LRH:                                               27
                                    DSH-Atascadero                256              No Score:                                                        0
                                                                                   Level I:                                                        34
                                                                                   Level II:                                                       134
                                                                                   Level III:                                                      34
                                                                                   Level IV                                                        53
                                                                                   Total Census:                                                   255
                                        DSH-Coalinga              50               No Score:                                                        0
                                                                                   Level I:                                                         9
                                                                                   Level II:                                                       23
                                                                                   Level III:                                                       5
                                                                                   Level IV                                                        12
                                                                                   Total Census:                                                   49
     Totals for Male ICF Low Custody                              390                                                                              386




                                                                                                          CCHCS, Health Care Placement Oversight Program
Page 2 of 3                                                                                               Referrals to Inpatient Programs Application (RIPA)
                                                                                                                                                      Monday, 12/30/2019
                 Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 13 of 18
                                                                                                                                                             Time: 04:30 PM



                                       PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 12/30/2019
                  Facility                                    Bed Capacity                                       Beds Occupied
                                                               Male Condemned Program
                                      PIP-San Quentin              30              Total Census:                                                        29




                                                                    Female Programs
                                          DSH-Patton               30              No Score:                                                             0
                                                                                   Level I:                                                              4
                                                                                   Level II:                                                            11
                                                                                   Level III:                                                            1
                                                                                   Level IV                                                              0
                                                                                   Total Census:                                                        16
                PIP-California Institution for Women               45              No Score:                                                             6

                                                                                   Level I:                                                              1
                                                                                   Level II:                                                             6
                                                                                   Level III:                                                            3
                                                                                   Level IV                                                             17
                                                                                   Total Census:                                                        33
                                                                                   Total out of LRH:                                                    3
        Totals for Female ICF/Acute                                 75                                                                                  49
                                              Total Inpatient Program Capacity and Census - Male and Female
              GRAND TOTALS                                        1657                                                                                 1581




                                                                                                              CCHCS, Health Care Placement Oversight Program
Page 3 of 3                                                                                                   Referrals to Inpatient Programs Application (RIPA)
Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 14 of 18




                      Exhibit E
                                  Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 15 of 18

                                                  CDCR INPATIENT PROGRAM REFERRALS:
                            COMPLIANCE WITH PROGRAM GUIDE TIMEFRAMES FOR ACUTE AND INTERMEDIATE REFERRALS
                                                 ADMITTED OR CLOSED IN DECEMBER 2019

                                                      Patients        Patients     Referrals Resulting
                                                                                                        Exceptions to     Number of   Total Days
      CDCR IDTT                   Total           Admitted Within Admitted Outside     in Rescind,
                                                                                                       Program Guide Referrals Out      Out of
     Referral Type              Referrals          Program Guide Program Guide        Rejection, or                 [2]
                                                               [1]                                     Timeframes       of Compliance Compliance
                                                   Timeframes       Timeframes      Parole/Discharge

  Intermediate (ICF)               188                   172                   0                   16                   0                  0               0
     Acute (APP)                   165                   160                   0                    5                   0                  0               0
       TOTALS                      353                   332                   0                   21                   0                  0               0



[1] Program Guide timeframes: Transfer within 30 days of referral for ICF, or within 10 days of referral for APP. Timeline begins when the completed referral is
received by the Mental Health Inpatient Referrals Unit (MH IRU); or if accepted at a Department of State Hospitals (DSH) program, upon DSH acceptance.
[2] Exceptions to the Program Guide timeframes in this report include: medical concerns and those referred that are on out-to-court status, out-to-hospital status,
and/or on medical or Vitek holds.




Data Source: Referrals to Inpatient Programs Application (RIPA)                                                   CCHCS, Health Care Placement Oversight Program
Case 2:90-cv-00520-KJM-DB Document 6446 Filed 01/15/20 Page 16 of 18




                      Exhibit F
State of California                                                                                                                                                                                                      GAVIN NEWSOM, Governor
                                  Case 2:90-cv-00520-KJM-DB
DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION  Document 6446 Filed 01/15/20 Page 17 of 18
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                                  DSH Psychiatric Inpatient Timelines Compliance Report
                                                          Patients Admitted December 1 through December 31, 2019 Who Waited Beyond Program Guide Timelines


                                     Level of Care                                          Patients Waiting Outside Program Guide Timelines3                               Days Waited Outside Program Guide Timelines4

                              Intermediate Care Admissions                                                             0                                                                             0
                                        Subtotal                                                                       0                                                                             0
                                                                             1
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds                                               0                                                                             0
               Exceptions to Program Guide Timelines - Internal Referrals2                                             0                                                                             0
               Total Excluding Exceptions to Program Guide Timelines                                                   0                                                                             0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH (e.g., transfer to LRH, level of care transfers).
3
 Includes patients admitted in December 2019 who waited greater than 30 days from the DSH referral received date.
4
 Includes the total number of days patients admitted in December 2019 waited beyond 30 days from the DSH referral received date.




Source: BUMMs                                                                                                      1 of 2
State of California                                                                                                                                                                GAVIN NEWSOM, Governor

                                     Case
DIVISION OF HOSPITAL STRATEGIC PLANNING AND2:90-cv-00520-KJM-DB
                                           IMPLEMENTATION                                Document 6446 Filed 01/15/20 Page 18 of 18
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                          DSH Psychiatric Inpatient Timelines Compliance Report
                                                   Patients Admitted December 1 through December 31, 2019 Who Waited Beyond Program Guide Timelines
Patients Admitted to Intermediate Care
                                                                                      Number of Days
                                                                                                                                              Total Days Waited
                                                   CDCR Direct/       Total Days on       Waited
                      Name               CDCR #                                                         Total Days on Hold   Exclusion Days       Excluding       Exception Reason(s)
                                                   DSH Internal          Waitlist     Beyond Program
                                                                                                                                                 Exceptions
                                                                                      Guide Timelines
                       -                   -              -                 -                -                  -                  -                  -                    -
  Total Number of Patients Waiting                Total Number of
                                           0                               0                0                   0                  0                 0                     -
           Over 30 Days                           Days All Patients




Source: BUMMs                                                                                      2 of 2
